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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

   UNITED STATES OF AMERICA

   v.                                              CASE NO. 2:15-cr-99-FtM-38MRM

   WISLER CYRIUS
   ________________________________

                           FORFEITURE MONEY JUDGMENT

          The United States moved for a forfeiture money judgment against defendant

   Wisler Cyrius in the amount of $270,229.00, representing the proceeds obtained

   as the result of the conspiracy to commit mail fraud as charged in Count One and

   a forfeiture money judgment in the amount of $127,200.00, representing the

   property involved in the money laundering conspiracy as charged in Count Two of

   the Indictment, pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 982(a)(1), 28 U.S.C.

   § 2461(c), and Rule 32.2(b)(2), Federal Rules of Criminal Procedure, which upon

   entry will be a final order of forfeiture as to the defendant.

          Being fully advised of the relevant facts, the Court hereby finds that the

   defendant obtained $270,229.00 in proceeds as a result of the conspiracy to

   commit mail fraud, in violation of 18 U.S.C. § 1349, as charged in Count One, and

   $127,200.00, representing the property involved in the money laundering

   conspiracy as charged in Count Two, in violation of 18 U.S.C. § 1956(h), to which

   he pleaded guilty.

          Accordingly, it is ORDERED that the motion of the United States is

   GRANTED.
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         It is FURTHER ORDERED that, pursuant to 18 U.S.C. §§ 981(a)(1)(C) and

   982(a)(1), 28 U.S.C. § 2461(c), and Rule 32.2(b)(2), Federal Rules of Criminal

   Procedure, the defendant is jointly and severally liable for the $270,229.00 and

   $127,200.00 money judgments with his co-conspirators, upon their conviction for

   the mail fraud conspiracy charged in Count One and the money laundering

   conspiracy charged in Count Two of the Indictment.

         The Court retains jurisdiction to effect the forfeiture and disposition of any

   property belonging to the defendant that the government is entitled to seek under

   21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b) and 28 U.S.C.

   § 2461(c), as a substitute asset in satisfaction of the defendant’s money judgment.

         DONE and ORDERED in Fort Myers, Florida, on June 22, 2016.




   Copies to:
   All Parties/Counsel of Record




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